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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                        -x

UNITED STATES OF AMERICA                       INDICTMENT

           - v. -                              S2 18 Cr. 224    (AJN)

BAHRAM KARIMI,

                       Defendant.

                              - - - - -x

                               BACKGROUND

          1.     At all times relevant to this Indictment, BAHRAM

KARIMI, the defendant, was employed by Stratus International

Contracting Company, an Iranian company established in Tehran,

Iran, that was part of Stratus Group, an Iranian conglomerate

also established in Iran.     Stratus Group and Stratus

International Contracting Company were controlled and operated

by a co-conspirator not named as a defendant herein ("CC-1") and

CC-l's family, including CC-l's son ("CC-2").

          2.     In or about 2006, Stratus Group incorporated a

company in Iran, which was then-known as the Iranian

International Housing Corporation ("IIHC").        At all times

relevant to this Indictment, IIHC was owned and operated by

Stratus Group.

          3.     On or about July 2, 2007, IIHC entered into a

contract with a subsidiary (the "Venezuelan Subsidiary") of a
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Venezuelan state-owned energy company (the "VE Company"), which

called for IIHC to build approximately 7,000 housing units in

Venezuela in exchange for approximately $475,734,000 U.S.

dollars (the "Venezuela Project").

            4.   In or about 2009, Stratus Group created the

Venezuela Project Executive Committee (the "Venezuela

Committee") to oversee the execution of the Venezuela Project.

Its members included, among others, BAHRAM KARIMI, the

defendant, CC-1, and CC-2.

            5.   In or about 2010, CC-1 and CC-2 incorporated two

entities outside Iran, using St. Kitts and Nevis passports and a

Dubai, United Arab Emirates address, for the purpose of, inter

alia, receiving U.S. dollar ("USD") payments related to the

Venezuela Project on behalf of IIHC:        (a) Clarity Trade and

Finance ("Clarity"), which was incorporated in Switzerland on or

about March 19, 2010, and (b) Stratus International Contracting,

J.S., a/k/a "Stratus Turkey," a/k/a "Straturk" ("Stratus

Turkey"), which was incorporated in Turkey on or about October

20, 2010.    At all times relevant to this Indictment, Stratus

Turkey and Clarity were owned and controlled by CC-1, CC-2, anq

their family members.

            6.   At all times relevant to this Indictment, BAHRAM

KARIMI, the defendant, CC-2, and others conspired to and did

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conduct international financial transactions using Clarity and

Stratus Turkey on behalf of and for the benefit of Iranian

individuals and entities, including themselves and IIHC, in

order to conceal from U.S. banks and others that services were

being provided to Iran in violation of U.S. sanctions laws.

                        STATUTORY ALLEGATIONS

                               COUNT ONE

                  (Conspiracy to Commit Bank Fraud)

          The Grand Jury charges:

          7.    From at least in or about 2009, up to and

including at least in or about May 2014, in the Southern

District of New York, Turkey, Switzerland, Iran, and elsewhere,

BAHRAM KARIMI, the defendant, and others known and unknown,

knowingly and willfully did combine, conspire, confederate, and

agree together and with each other to commit bank fraud,          in

violation of Title 18, United States Code, Section 1344.

          8.    It was a part and an object of the conspiracy

that BAHRAM KARIMI, the defendant, and others known and unknown,

would and did knowingly execute and attempt to execute a scheme

or artifice to defraud a financial institution, the deposits of

which were then insured by the Federal Deposit Insurance

Corporation ("FDIC"), and to obtain moneys,       funds,   credits,

assets, securities, and other property owned by and under the


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custody and control of such a financial institution, by means of

false and fraudulent pretenses, representations, and promises,

in violation of Title 18, United States Code, Section 1344.

                               Overt Acts

          9.    In furtherance of the conspiracy and to effect

the illegal object thereof, BAHRAM KARIMI, the defendant, and

his co-conspirators committed the overt acts set forth below,

among others:

                a.    Between in or about April 2011 and in or

about November 2013, KARIMI, CC-2, and others caused over ten

letters to be sent to a representative of the Venezuelan

Subsidiary with instructions for the Venezuelan Subsidiary to

engage in international financial transactions with Clarity and

Stratus Turkey on behalf of and for the benefit of Iranian

individuals and entities, including IIHC, in order to conceal

from U.S. banks and others that Iranian companies and persons

were involved in the transactions.       The letters directed the

Venezuelan Subsidiary to route payments to Clarity and Stratus

Turkey's bank accounts at a financial institution in Switzerland

through correspondent U.S. banks located in New York, New York.

                b.    Between in or about April 2011 and in or

about November 2013, the VE Company, at the direction of KARIMI

and others, made approximately fifteen payments to IIHC on

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behalf of the Venezuelan Subsidiary through Clarity and Stratus

Turkey that totaled approximately $115,000,000 USO.

          (Title 18, United States Code, Sections 1349.)

                                COUNT TWO

                              (Bank Fraud)

          The Grand Jury further charges:

          10.   The allegations contained in paragraph 1 through

6 and 9 of this Indictment are repeated and realleged as if

fully set forth herein.

          11.   From at least in or about 2009, up to and

including at least in or about May 2014, in the Southern

District of New York, Turkey, Switzerland, Iran, and elsewhere,

BAHRAM KARIMI, the defendant, and others known and unknown, did

knowingly execute and attempt to execute a scheme or artifice to

defraud a financial institution, the deposits of which were then

insured by the FDIC, and to obtain moneys, funds, credits,

assets, securities, and other property owned by and under the

custody and control of such financial institution, by means of

false and fraudulent pretenses, representations, and promises,

and aided and abetted the same, to wit, inducing U.S. financial

institutions to conduct financial transactions on behalf of and

for the benefit of the Government of Iran and Iranian entities

and persons using money and property owned by and under the


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custody and control of such financial institutions, by deceptive

means.

         (Title 18, United States Code, Sections 1344 and 2.)

                                 COUNT THREE

                         (Making False Statements)

            The Grand Jury further charges:

            12.   The allegations contained in paragraph 1 through

6 and 9 of this Indictment are repeated and realleged as if

fully set forth herein.

            13.   On or about January 22, 2020, in the Southern

District of New York, Canada, and elsewhere, BAHRAM KARIMI, the

defendant, in a matter within the jurisdiction of the executive

branch of the Government of the United States, knowingly and

willfully falsified, concealed, and covered up by a trick,

scheme, and device a material fact, and made materially false,

fictitious, and fraudulent statements and representations, to

wit, during an interview with, among others, representatives of

the Federal Bureau of Investigation concerning an investigation

being conducted in the Southern District of New York, KARIMI

falsely stated that, during the course of the Venezuela Project,

KARIMI believed that international sanctions against Iran did

not apply to Iranian companies or persons.

             (Title 18, United States Code, Section 1001.)


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                         FORFEITURE ALLEGATIONS

            14.   As a result of committing the offenses alleged in

Counts One and Two of this Indictment, BAHRAM KARIMI, the

defendant, shall forfeit to the United States, pursuant to Title

18, United States Code,     Section 982 (a) (2) (A), any and all

property constituting or derived from, proceeds obtained

directly or indirectly, as a result of the commission of said

offenses, including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to

the commission of said offenses that the defendant personally

obtained.

                       Substitute Assets Provision

            15.   If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

                  a)    cannot be located upon the exercise of due
                        diligence;

                  b)    has been transferred or sold to, or
                        deposited with, a third person;

                  c)    has been placed beyond the jurisdiction of
                        the court;

                  d)    has been substantially diminished in value;
                        or

                  e)    has been commingled with other property
                        which cannot be subdivided without
                        difficulty;




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it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), to seek forfeiture of any

other property of said defendant up to the value of the above

forfeitable property.

        (Title 18, United States Code, Sections 981, 982;
           Title 21, United States Code, Section 853;
          Title 28, United States Code, Section 2461.)




                                        GEOFEY~BERMAN
                                        United States Attorney




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               UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK


                 UNITED STATES OF AMERICA

                                 v.

                      BAHRAM KARIMI,

                                                           Defendant.


                     SEALED INDICTMENT

                    S2 18 Cr. 224              (AJN)

        (18 U.S.C. §§ 1344, 1349, 1001, and 2.)

                                  GEOFFREY S. BERMAN
                             United States Attorney.

                        A TRUE BILL


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